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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO.: 17-23942-CIV-WILLIAMS


    MONTEL WILLIAMS and
    MONTEL WILLIAMS ENTERPRISES, INC.,

                Plaintiffs,

     v.
     ADVANCEABLE TECHNOLOGY,
         LLC, et al. Defendants.
  ___________________________________________/

                                    JOINT CONFERENCE REPORT

          Pursuant to Fed. R. Civ. P. 26(f) and S.D. Fla. L.R. 16.1(b), Plaintiffs and Defendants file

  this Joint Conference Report:

          I.          Recommended Case Management Track:

          The parties believe this case should be placed on the “Standard Track” as described in

  S.D. Fla. L.R. 16.1(a)(2)(B). Given the number of parties and third parties involved in this case,

  the parties agree that the Standard Track is appropriate.

          II.         Areas of discussion as required by Fed. R. Civ. P. 26(f):

          The parties recommend that discovery be conducted as set out in the Fed. R. Civ. P. and

  S.D. Fla. L. R. 26.1.

          (A)        Initial Disclosures: As set forth in the Schedule Jointly Proposed By The Parties

  submitted separately from this Joint Conference Report, the parties propose that their initial

  disclosures pursuant to Fed. R. Civ. P. 26(a) be made within two weeks of the submission of this

  Joint Conference Report by August 16, 2018.
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           (B)   Subject and Timing of Discovery: The parties currently intend to seek discovery

  with respect to all allegations contained in the Amended Complaint and the Answers and

  Affirmative Defenses. The parties propose that they may serve interrogatories, requests for

  production, and request for admissions, in accordance with the Federal Rules of Civil Procedure

  and S.D. Fla. Local Rules of Practice.

           (C)   Electronically Stored Information: The parties agree that electronically stored

  non-privileged information relevant to the disputed issues in this lawsuit will be produced in a

  manner consistent with the requirements of the Federal Rules of Civil Procedure and the Local

  Rules of the United States District Court for the Southern District of Florida. While the parties

  each reserve all claims of privilege, immunities, and objections to discovery requests, they will

  each attempt to stipulate as to records custodian searches, the scope of production and searches,

  and other matters pertaining to electronic discovery. The parties agree that, if and when the issue

  arises, the parties will negotiate a mutually acceptable protocol for the production of

  electronically stored information and submit a proposed order regarding the same to the Court.

           (D)   Privilege and Trial Preparation Materials: The parties anticipate that claims of

  privilege, confidentiality, trade secrets or protection of trial preparation materials may arise

  during the course of this litigation. The parties agree that the standard procedures contained in

  Fed. R. Civ. P. 26(b) will govern any such claims.

           (E)   Limitations on Discovery: The parties do not anticipate any changes or

  limitations on the scope of discovery imposed under the Fed. R. Civ. P. or the S.D. Fla. Local

  Rules.




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            (F)    Other Orders: The parties will likely request the Court to enter a protective order

  governing the treatment of confidential or trade secret information in accordance with Fed. R.

  Civ. P. 26(c) and 16(b).

   III.     Areas of discussion as required by S.D. Fla. L.R. 16.1(b)(2):

            (A)    Likelihood of Settlement:       The parties have discussed the possibility of

  settlement, but no settlement has been reached at this time. The parties will continue to engage

  in settlement discussions as the case progresses and will promptly notify the Court if they reach a

  settlement.

            (B)    Likelihood of Appearance in this Action of Other Parties: At this time,

  Plaintiffs intend to seek leave to amend the Amended Complaint to add three additional

  defendants it has identified through third party discovery that have also engaged in the infringing

  conduct alleged in the Amended Complaint. Other than these three additional defendants, the

  likelihood of appearance in this action of other parties is presently unknown.

            (C) Proposed Limits on the Time:

            The proposed limits on the time for discovery and other pre-trial matters are set forth in

  the Schedule Jointly Proposed By The Parties submitted separately from this Joint Conference

  Report.

            (D)    Proposals for the formulation and simplification of issues, including the

  elimination of frivolous claims or defenses, and the number and timing of motions for

  summary judgment or partial summary judgment: As set forth in the Schedule Jointly

  Proposed By The Parties, the parties propose a June 13, 2019 deadline for the filing of

  dispositive motions. The parties will also work together to try to simplify the issues as the case

  progresses.



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         (E)     The necessity or desirability of further amendments to the pleadings:

  Plaintiffs anticipate seeking leave to file an Second Amended Complaint to add three additional

  defendants it has identified through third party discovery that have also engaged in the infringing

  conduct alleged in the Amended Complaint.

         (F)     The possibility of obtaining admissions of fact and documents, electronically

  stored information or things which will avoid unnecessary proof, stipulations regarding

  authenticity of documents, electronically stored information or things, and the need for

  advance rulings from the Court on admissibility of evidence: The parties will attempt to

  stipulate to as many facts and documents as possible. At this time, it is unknown if the parties

  will need advance ruling of the Court on admissibility of evidence; if the need arises, the parties

  will promptly file the appropriate motion(s) with the Court.

         (G)     Suggestions for the avoidance of unnecessary proof and of cumulative

  evidence: The parties agree to consider stipulations, including regarding the authenticity of

  documents and undisputed facts, to narrow the issues for trial.

         (H)     Suggestions on the advisability of referring matters to a Magistrate Judge or

  Master: Pursuant to Docket No. 5, all discovery disputes and non-dispositive pretrial motions

  have been referred to Magistrate Judge Edwin G. Torres. The parties do not consent to the

  referral of any other matters to a Magistrate Judge or Master.

         (I)     A preliminary estimate of the time required for trial: The parties agree that a

  5-8 day trial is probably appropriate given the facts of this case.

         (J)     Requested date or dates for:

                 (i)     Conference before trial:        Unknown at this time.

                 (ii)    Final pretrial conference:      August 14, 2019



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                (iii)   Trial Period begins:          August 19, 2019

         (K)    Any other information that might be helpful to the court in setting the case

  for status or pretrial conference: Plaintiffs have demanded a jury trial.



         Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 31, 2018, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this date in some other authorized manner for those counsel or parties, if any,

  who are not authorized to receive electronically Notices of Electronic Filing.


                                               By:/s/ Franklin L. Zemel
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